              IN THE UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION

United States of America,                           )
                                                    )
                             Plaintiff,             )
                                                    )
       v.                                           )      Criminal Action Number
                                                    )      12-00268-15-CR-W-DGK
Jose Alberto Arvizu,                                )
                                                    )
                             Defendant.             )

                         REPORT AND RECOMMENDATION

       Presently pending before the Court is the MOTION TO SUPPRESS STATEMENTS [Doc. 441]

filed by defendant Jose Alberto Arvizu (“Arvizu”) on October 21, 2014. On February 11, 2015,

the undersigned held an evidentiary hearing on Arvizu’s motion. Arvizu was present and

represented by his counsel, Jon Justin Johnston. The government was represented by Assistant

United States Attorney Bruce Rhoades. At the evidentiary hearing, testimony was provided by a

single witness: Detective Loran Freeman with the Independence Missouri Police Department.

Additionally, the following exhibits were admitted into evidence

              Number                 Description

              Gov’t #1               Miranda waiver

              Gov’t #2               Statement

              Gov’t #3               Booking release

       On the basis of all the evidence adduced at the evidentiary hearing, the undersigned

recommends denial of Arvizu’s MOTION TO SUPPRESS STATEMENTS and submits the following

proposed findings of facts and proposed conclusions of law.




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                              PROPOSED FINDINGS OF FACT

       1.      Loran Freeman is a detective with the Independence Missouri Police Department
assigned to the Career Criminal Unit. Tr. at 5-6.

         2.     As part of Det. Freeman’s duties, he was involved in the criminal investigation
that ultimately led to Arvizu’s arrest and indictment. Tr. at 6.

       3.      On February 15, 2012, at approximately 4 p.m., Arvizu was arrested after he
encountered law enforcement officers executing a search warrant on a residence stemming from
an investigation involving a target named Damon Schultz. Tr. at 11-12, 18.

       4.     As part of that investigation, on February 16, 2012, at approximately 11:45 a.m.,
Det. Freeman obtained a video/audio statement from Arvizu. Tr. at 6-8, 13; Gov’t #2.

        5.     Det. Freeman removed Arvizu’s handcuffs prior to the start of the interview. Tr.
at 14; Gov’t #2.

       6.      Prior to taking the statement, Det. Freeman told Arvizu:

               This thing that happened yesterday . . . You have to assume that it
               didn’t just start yesterday. Okay? You have to assume, probably,
               that we’ve been around awhile. . . Watching shit, following
               people, talking to people, making other arrests and shit like that.

               So . . . here’s the deal. I’m willing to sit here and have a very
               honest conversation with you about some things, so long as you’re
               going to be honest with me. Okay? There’s things that I know, and
               there’s things that I’m going to ask you, and there’s things that I’m
               going to ask you and I already know the answer just to check you,
               see if you’re going to be straight with me... If you’re going to lie to
               me and bullshit me and all that man, I’d just as soon get up and
               walk out of here, not waste your time or mine.

 Tr. at 16; Gov’t #2.

       7.      Arvizu then asked if he was being charged with anything and Det. Freeman
responded:

               Not right now. Not today. One thing I can guarantee you, is that
               regardless of what you and I talk about right now, with the
               exception of murder, you’re going to be able to walk out of here
               today.

Gov’t #2.

       8.    Det. Freeman then discussed with (and read to) Arvizu his constitutional rights
under Miranda. Tr. at 6, 16; Gov’t #2.


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        9.     Following the discussion of the Miranda rights, Arvizu signed a written waiver of
those rights and agreed to speak with Det. Freeman. Tr. at 6, 16; Gov’t #1.

        10.    After Arvizu avoided directly answering any questions about his participation in
drug trafficking by Damon Schultz, Det. Freeman told Arvizu:

               Look. . . you’re in a position to be a really good witness. And
               here’s the thing: When it comes to the federal system. . . there’s
               two kinds of people; the ones who talk and cooperate, and the ones
               who wish they had. Now, I’m in a position to make
               recommendations to the U.S. Attorney in how he charges this case
               when that day comes. Typically, he listens to the things that we
               suggest. You and I have a straightforward, honest conversation
               here, things go well for you, because I will make every
               recommendation that he be as lenient with you as he possibly can,
               in exchange for your cooperation and potentially testimony as a
               witness.

 Tr. at 18-21; Gov’t #2.

       11.     After Arvizu expressed concerns about testifying, Det. Freeman told him:

               The chances of you having to stand up in a federal court... Man,
               you got a better chance of winning the lottery. I need to know that
               you’re at least willing to do it. I need you to give me an honest
               account of all the dope dealing you’ve seen Damon do, of all the
               dope dealing you have done, and about some other shit too. So,
               let’s talk about those things.

Gov’t #2.

        12.     Thereafter, Arvizu made incriminating statement relative to his alleged direct
participation in drug trafficking. Tr. at 23.-24.

       13.    The video/audio statement obtained by Det. Freeman from Arvizu is
approximately 45 minutes. Tr. at 10; Gov’t #2.

       14.     Arvizu was released from police custody about six minutes following the
conclusion of the interview with Det. Freeman. Tr. at 10-11; Gov’t #3.




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                           PROPOSED CONCLUSIONS OF LAW

       In his motion to suppress, Arvizu seeks the suppression of all incriminating statements he

made to Det. Freeman, arguing that the statement were obtained in violation of his constitutional

rights. With regard to Arvizu’s video/audio statement to Det. Freeman, the Fifth Amendment of

the United States Constitution commands that “[n]o person . . . shall be compelled in any

criminal case to be a witness against himself.” U.S. CONST. amend. V. With regard to the Fifth

Amendment, the Supreme Court has found:

               The essence of this basic constitutional principle is the requirement
               that the [government] which proposes to convict and punish an
               individual produce the evidence against him by the independent
               labors of its officers, not by the simple, cruel expedient of forcing
               it from his own lips.

Estelle v. Smith, 451 U.S. 454, 462, 101 S.Ct. 1866, 1872 (1981). However, as the Supreme

Court has made clear on numerous occasions, the right against self-incrimination does not

prohibit any and all statements made by suspects to law enforcement officers from being

admissible in a criminal proceeding. For example:

               [The Fifth Amendment] does not preclude a witness from
               testifying voluntarily in matters which may incriminate him, . . .
               for those competent and freewilled to do so may give evidence
               against the whole world, themselves included. . . . Indeed, far from
               being prohibited by the Constitution, admissions of guilt by
               wrongdoers, if not coerced, are inherently desirable.

United States v. Washington, 431 U.S. 181, 186-87, 97 S.Ct. 1814, 1818 (1977) (emphasis

added). The touchstone of such Fifth Amendment analysis is voluntariness. Dickerson v. United

States, 530 U.S. 428, 434, 120 S.Ct. 2326, 2331 (2000) (“We . . . continue to exclude confessions

that were obtained involuntarily.”).

       With regard to statements made by a suspect during custodial interrogation by law

enforcement, the Supreme Court, in the landmark case of Miranda v. Arizona, 384 U.S. 436, 86

S.Ct. 1602 (1966), enunciated a special test for ascertaining voluntariness. The reason for such


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special treatment stems from the Supreme Court’s recognition that custodial interrogations are

inherently coercive. Dickerson, 530 U.S. at 435, 120 S.Ct. at 2331; New York v. Quarles, 467

U.S. 649, 654, 104 S.Ct. 2626, 2630 (1984). Indeed, in Miranda, the Supreme Court observed

that custodial interrogations, by their very nature, generate “inherently compelling pressures

which work to undermine the individual's will to resist and to compel him to speak where he

would not otherwise do so freely.” Miranda, 384 U.S. at 467, 86 S.Ct. at 1624. Consequently,

               To combat this inherent compulsion, and thereby protect the Fifth
               Amendment privilege against self-incrimination, Miranda imposed
               on the police an obligation to follow certain procedures in their
               dealings with the accused.

Moran v. Burbine, 475 U.S. 412, 420, 106 S.Ct. 1135, 1140 (1986). These procedures, now

almost universally familiar, include fully apprising a suspect of the prosecution's intention to use

his statements to secure a conviction and informing him of his rights to remain silent and to have

counsel present if he so desires. Miranda, 384 U.S. at 468-70, 86 S.Ct. at 1624-26.

       Despite the inherently coercive nature of custodial interrogations, it is well settled that a

criminal suspect may waive the rights contained in the Miranda warnings “provided the waiver

is made voluntarily, knowingly and intelligently.” Miranda, 384 U.S. at 444, 86 S.Ct. at 1628.

However, “[a] waiver of Miranda rights is invalid if, in the totality of the circumstances, the

accused’s will was overborne.” United States v. Holloway, 128 F.3d 1254 (8th Cir.1997); see

also United States v. Caldwell, 954 F.2d 496, 505 (8th Cir.1992) (waiver of Miranda rights is

determined under totality of the circumstances and in light of entire course of police conduct).

       In United States v. Boyd, 180 F.3d 967 (8th Cir.1999), the Eighth Circuit explained how

to determine whether a waiver of Miranda rights is valid:

               The determination of whether an accused has knowingly and
               voluntarily waived his Miranda rights depends on all the facts of
               each particular case. The circumstances include the background,
               experience, and conduct of the accused. The government has the
               burden of proving that the defendant voluntarily and knowingly
               waived his rights.
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Id. at 977 (internal citations omitted); see also United States v. Barahona, 990 F.2d 412, 418 (8th

Cir.1993) (government bears burden of proving by preponderance of evidence that defendant

knowingly, voluntarily, and intelligently waived his rights).

        Thus, an inquiry into whether a suspect’s Miranda rights have been waived “has two

distinct dimensions.” Moran, 475 U.S. at 421, 106 S.Ct. at 1141. The Court has explained:

               First, the relinquishment of the right must have been voluntary in
               the sense that it was the product of a free and deliberate choice
               rather than intimidation, coercion, or deception. Second, the waiver
               must have been made with a full awareness of both the nature of
               the right being abandoned and the consequences of the decision to
               abandon it.

Id. at 421, 106 S.Ct. at 1141. The Moran court further noted that “[o]nly if the totality of the

circumstances surrounding the interrogation reveals both an uncoerced choice and the requisite

level of comprehension may a court properly conclude that the Miranda rights have been

waived.” Id. (quoting Fare v. Michael C., 442 U.S. 707, 725, 99 S.Ct. 2560, 2571 (1979)).

These principles subsequently have been summarized by lower courts. For instance in Holman

v. Kemna, 212 F.3d 413 (8th Cir. 2000), the Eighth Circuit found:

               A waiver is voluntary if it is the product of a free and deliberate
               choice rather than intimidation, coercion, or deception. A waiver is
               knowing and intelligent if it has been made with a full awareness
               of both the nature of the right being abandoned and the
               consequences of the decision to abandon it.

Id. at 420.

        In this case, two matters are clear. First the video/audio statement obtained by Det.

Freeman was custodial interrogation. Second, Arvizu did sign a waiver of his Miranda rights.

Notwithstanding this latter fact, Arvizu argues that suppression of his statements is warranted

because his statements were not voluntarily made, but were the product of false promises of

leniency (buttressed by the implication of dire consequences if Arvizu did not cooperate).



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       After considering the totality of the circumstance surrounding the statement and after

viewing the recording of the statement carefully, the Court rejects Arvizu’s argument that his

statements were involuntary. Arvizu did not appear to be impaired or intellectually limited. Det.

Freeman did not threaten Arvizu physically nor raise his voice or use abusive language. The

interview setting was not unnecessarily beyond what is to be expected from a post-arrest

interview in a police station. Arvizu appeared to understand and comprehend his waiver of

rights, Det. Freeman’s questions, and the gravity of the situation.

       Moreover, giving Arvizu the benefit of the doubt that Det. Freeman was making promises

of leniency in order to obtain incriminating statement, this fact, alone, does not render Arvizu’s

statements involuntary. Compare United States v. Santos–Garcia, 313 F.3d 1073, 1079 (8th Cir.

2002) (noting that raised voices and promises of leniency do not render a confession

involuntary); United States v. Kilgore, 58 F.3d 350, 353 (8th Cir. 1995) (even if defendant was

confused and confessed to the crime on the mistaken belief that he had been promised leniency --

or even if he had been promised some form of leniency – this circumstance alone would not

make the defendant's confession involuntary). This is particularly true where – as here – a

defendant knowingly and intelligently waived his constitutional rights. Compare United States

v. Otters, 197 F.3d 316, 318 (8th Cir.1999) (finding that a reading of Miranda weighs in favor of

a finding of voluntariness even where promises of leniency have been made to a defendant).

        Accordingly, it is

       RECOMMENDED that the Court, after making an independent review of the record and

applicable law, enter an order DENYING the MOTION TO SUPPRESS STATEMENTS [Doc. 441]

filed by defendant Jose Alberto Arvizu (“Arvizu”) on October 21, 2014.

       Counsel are reminded that each has 14 days from the date of receipt of a copy of this

report and recommendation to file and serve specific objections to the same. A failure to file and

serve timely objections shall bar attack on appeal of the factual findings in this report which are
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accepted or adopted by the district judge except upon the ground of plain error or manifest

injustice.


                                                      /s/ John T. Maughmer             ,
                                                   John T. Maughmer
                                               United States Magistrate Judge




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